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                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                           Plaintiff,
v.                                                          Case No.: 1:21−cr−00239
                                                            Honorable Manish S. Shah
Daniel M Rosenbaum
                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, January 11, 2023:


        MINUTE entry before the Honorable Manish S. Shah: Motion hearing held.
Defendant does not dispute the factual allegations of the government's motion to revoke
pretrial release. For the reasons stated in open court, the motion [52] is granted. The order
setting defendant's conditions of release is vacated and defendant's pretrial release is
revoked. Defendant shall be detained pending further court order. As required by 18
U.S.C. 3142(i), defendant shall be confined in a facility separate, to the extent practicable,
from persons awaiting or serving sentences or being held in custody pending appeal;
defendant shall be afforded reasonable opportunity for private consultation with counsel;
and the person in charge of the facility in which defendant is confined shall deliver
defendant to a U.S. Marshal for the purpose of an appearance in connection with a court
proceeding, on order of a court or on request of an attorney for the government. Status
hearing held. No status report on 1/19/23 is necessary. Continued status hearing is set for
2/27/23 at 1:30 p.m. in Courtroom 1919. Time is excluded under the Speedy Trial Act
until 2/27/23, without objection, to serve the ends of justice. The delay is necessary to
give the parties time for effective preparation, which includes continued plea negotiations
and further factual investigation by both parties, and outweighs the interests of the public
and defendant in a speedy trial. Notices mailed. (psm, )




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